    Case: 6:13-cr-00026-DCR-HAI           Doc #: 209 Filed: 05/06/15             Page: 1 of 4 - Page
                                              ID#: 639



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       (at London)

    UNITED STATES OF AMERICA,                        )
                                                     )
          Plaintiff,                                 )         Criminal Action No. 6: 13-26-DCR-03
                                                     )
    V.                                               )
                                                     )
    TABITHA RENA BEGLEY,                             )            MEMORANDUM OPINION
                                                     )                AND ORDER
          Defendant.                                 )
                                                     )

                                        ***    ***       ***     ***

         By letter dated April 22, 2015, Defendant Tabitha Rena Begley has requested a

sentence reduction. The Court construes this letter as a motion requesting relief under

Amendment 782 to the United States Sentencing Guidelines and 18 U.S.C. § 3582(c)(2).

Begley is currently serving a 46-month sentence of imprisonment for her participation in a

large-scale drug trafficking conspiracy. After reviewing Begley’s motion, the Court declines

to grant the requested relief.1



1
        The Court has also determined that appointment of counsel is not necessary. Further, this matter
need not be scheduled for hearing to resolve the defendant’s motion. There is no constitutional right to
counsel or to a hearing in proceedings filed under 18 U.S.C. § 3582(c)(2). United States v. Whitebird, 55
F.3d 1007 (5th Cir. 1995); United States v. Townsend, 98 F.3d 510 (9th Cir. 1996); United States v.
Webb, 565 F.3d 789 (11th Cir. 2009); and United States v. Legree, 205 F.3d 724 (4th Cir. 2000), cert.
denied, 531 U.S. 1080 (2001).

A motion filed under 18 U.S.C. § 3582(c)(2), “is simply a vehicle through which appropriately sentenced
prisoners can urge the court to exercise leniency to give [them] the benefits of an amendment to the U.S.
Sentencing Guideline Manual. As such, it does not entitle [a prisoner] to appointed counsel.” Townsend,
98 F.3d at 513 (citing Whitebird, 55 F.3d at 1011). Instead, the district court has discretion to determine
whether appointment of counsel is warranted. Where, as here, the record and information possessed by
                                                   -1-
 Case: 6:13-cr-00026-DCR-HAI           Doc #: 209 Filed: 05/06/15          Page: 2 of 4 - Page
                                           ID#: 640



       On February 14, 2014, the Court accepted Begley’s guilty plea to conspiring to

distribute oxycodone in violation of 21 U.S.C. § 846. [Record No. 142] Begley entered into

a written Plea Agreement with the United States in which she admitted to the following

factual basis for the charge:

       (a)     The Defendant, Tabitha Begley, admits that she conspired with others
       to distribute oxycodone pills from a time period beginning in or about May of
       2011 through June of 2013. Oxycodone is a Schedule II controlled substance.

       (b)     Specifically, the Defendant admits that she traveled with others to pain
       clinics in Georgia to obtain oxycodone pills. On some of these trips, the
       Defendant and others were funded by a codefendant. During each visit, the
       Defendant received a quantity of oxycodone 30 mg pills and oxycodone 15 mg
       pills. On the occasions that the codefendant funded these trips, the Defendant
       received one-half of the pills. The codefendant received the other half of the
       pills, which he (the codefendant) distributed in Southeastern Kentucky.

       (c)   The Defendant also admits that she rented cars in her name for the
       purpose of making trips to out-of-state pain clinics on behalf of the
       aforementioned codefendant.

       (d)     Based on the evidence obtained by law enforcement, including the
       Defendant’s own admissions, the United States could prove beyond a
       reasonable doubt, and the Defendant admits, that he [sic] is responsible for
       distributing approximately 2,386 oxycodone 30 mg pills and 1,275 oxycodone
       15 mg pills.

[Record No. 198, pp. 1-2]

       The issue presented is whether a sentence reduction is warranted in light of all

relevant statutory factors under 18 U.S.C. § 3553. These factors include, inter alia, the

seriousness of the crime, the personal history and characteristics of the defendant, the

defendant’s acceptance of responsibility and cooperation, specific and general deterrence,


the Court from the original sentencing is sufficient to consider any motion filed under 18 U.S.C. §
3582(c)(2), appointment of counsel would be unnecessary and a waste of resources.

                                               -2-
 Case: 6:13-cr-00026-DCR-HAI          Doc #: 209 Filed: 05/06/15       Page: 3 of 4 - Page
                                          ID#: 641



and the need to protect the public from potential future crimes by Begley. As outlined in the

Presentence Investigation Report (“PSR”) prepared in this case, Begley’s Base Offense Level

was 28 at the time of sentencing. [PSR, p. 8] She then received a three-level reduction for

acceptance of responsibility and a two-point reduction under U.S.S.G. § 5C1.2, reducing her

Total Offense Level to 23. [Id.] With a Criminal History Category of I, Begley’s resulting

non-binding guideline range was 46 to 57 months. On June 27, 2014, the Court held a

sentencing hearing, considered the parties’ arguments and the factors set forth in § 3553, and

found that a sentence of 46 months was sufficient, but not greater than necessary, to satisfy

the relevant statutory goals. [Record No. 200]

       This defendant is a mother of two. Begley asserts that a reduction in her sentence will

allow her to bond with her children, one of whom was born during her incarceration.

However, this is only one factor that the Court must consider, and it is outweighed by the

negative impact of the other relevant factors and characteristics. Additionally, attached to

Begley’s letter is a document indicating that the defendant has been participating in a

Residential Drug Abuse Treatment Program ("RDAP") and is expected to complete Phase I

of the program in September. Notwithstanding this positive step, the Court’s concerns are

not alleviated regarding the remaining statutory factors.

       Although Begley did not have a serious criminal history before the charged offense,

[PSR, p. 9] her participation in the conspiracy was extensive, lasting over two years and

resulting in the distribution of a large amount of oxycodone into the Eastern District of

Kentucky. A further reduction in Begley’s sentence would not sufficiently deter either the

defendant or others from similar crimes in the future and would unduly diminish the

                                              -3-
 Case: 6:13-cr-00026-DCR-HAI         Doc #: 209 Filed: 05/06/15        Page: 4 of 4 - Page
                                         ID#: 642



seriousness of her offense. In addition, a reduced sentence would not provide sufficient

punishment for the serious and long-running conspiracy in which Begley participated.

       Nothing in the defendant’s motion overcomes the Court’s conclusion that the

sentence imposed is the minimum term necessary to meet all relevant factors of § 3553. In

short, the defendant’s current sentence of 46 months is sufficient but not greater than

necessary to achieve the statutory goals. As a result, the Court will adhere to the sentence

originally imposed. Accordingly, it is hereby

       ORDERED as follows:

       1.     The Clerk of Court shall FILE Defendant Tabitha R. Begley’s letter, dated

April 22, 2015, which has been construed as a motion, in the record.

       2.     Defendant Begley’s motion for a reduced sentence is DENIED.

       This 6th day of May, 2015.




                                             -4-
